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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 JOHN DOE,

        Plaintiff,

 v.                                                      Case No. 6:18-cv-1069-Orl-37LRH

 ROLLINS COLLEGE,

       Defendant.
 _____________________________________

                                          ORDER

        Defendant Rollins College (“Rollins”) moves for summary judgment (Doc. 60

 (“Rollins’s Motion”)), and Plaintiff John Doe (“Doe”) moves for partial summary

 judgment (Doc. 56 (“Doe’s Motion”)). The parties responded (Docs. 72, 74) and replied

 (Docs. 75, 76). On review, Rollins’s Motion is granted in part, and Doe’s Motion is granted

 in part.

                                   I.     BACKGROUND1

        Following a sexual encounter in his campus dorm room with fellow student Jane

 Roe, Doe was found responsible for violating Rollins’s Title IX: Sexual Misconduct and

 Harassment Policy (“Policy”), resulting in disciplinary sanctions. (Doc. 56-1; Doc. 61-5,




        1 In resolving a summary judgment motion, the Court ordinarily presents the facts
 in the light most favorable to the non-moving party. See Battle v. Bd. of Regents, 468 F.3d
 755, 759 (11th Cir. 2006). Here, however, both parties move for summary judgment, and
 the material underlying facts are not in dispute—rather, it is the inferences drawn from
 those facts that the parties dispute. So in the Background, the Court presents the
 undisputed facts from the record evidence.
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 pp. 9–35.) Doe now sues Rollins for violations of Title IX and breach of contract. (Doc. 14.)

 Title IX of the Civil Rights Act provides that “[no] person in the United States shall, on

 the basis of sex, be excluded from participation in, be denied the benefits of, or be

 subjected to discrimination under any education program or activity receiving Federal

 financial assistance.” 20 U.S.C. § 1681(a). Doe says Rollins violated Title IX by

 discriminating against him based on gender during its handling of a sexual misconduct

 allegation against him. (See Doc. 14.) The breach of contract claim stems from alleged

 failure to follow both the Policy and Rollins’s Responding Party Bill of Rights. (Docs. 56-

 1, 56-13). For context, let’s first review Rollins’s policies, training, and email on Title IX,

 then the incident and investigation into Doe’s conduct, and end with other sexual

 misconduct investigations at Rollins.

        A.     Rollins’s Policies

        In 2011, the U.S. Department of Education issued the “Dear Colleague Letter” to

 colleges, to provide guidance for complying with Title IX and to encourage prompt and

 equitable procedures to address sexual misconduct. (Doc. 61-12 (“Dear Colleague

 Letter”).) According to Doe’s expert, Professor Johnson, the Dear Colleague Letter’s

 “significant procedural changes increased the chances that an accused student would be

 found responsible for a sexual misconduct allegation.” (Doc. 63-1, p. 3.)2 Following the

 Dear Colleague Letter, in 2015, Rollins adopted the Policy. (Doc. 56-1.) The Policy defines

 sexual misconduct that violates Rollins’s community standards and explains how reports



        Professor Johnson has been permitted to testify as an expert on the history and
        2

 background of Title IX. (Doc. 109.)
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 of sexual misconduct will be handled by Rollins. (Id. at 2.) Rollins says it’s committed to

 a “timely and fair resolution of sexual misconduct and harassment complaints.” (Id.) The

 Policy mandates:

        Where the College has received a report of sexual misconduct or
        harassment but the reporting party requests that he or she remain
        confidential and/or requests that the College not pursue an investigation,
        the College must balance this request with its responsibility to provide a
        safe and non-discriminatory environment for all members of the Rollins
        community. The College is required to take all reasonable steps to
        investigate and respond to a complaint, but its ability to do so may be
        limited by the reporting party’s request. However, under compelling
        circumstances including: evidence of a pattern of repetitive behavior, the
        use of force or threat of force, or the use of a weapon by the responding
        party, the College may conduct further investigation, or take other
        appropriate measures without the reporting party’s consent. The reporting
        party will be informed whenever possible of any action the College takes to
        resolve the complaint, including further investigation and corrective or
        disciplinary steps.

        The College will respond promptly and equitably when any incident of
        sexual misconduct or harassment is alleged against a faculty, staff, or
        student. Typically the process will be completed within 60 days. This
        timeframe may be extended only for good cause. If good cause exists to
        extend the timeframe, both the reporting party and the responding party
        will be notified in writing of the extension and the reason for the extension.
        This includes a direct compliant [sic] or if the College becomes aware of the
        situation by other reliable means. The College’s response may take a
        number of forms within its discretion. This includes offering reasonable
        protection and services to the complainant or others, conducting a Title IX
        inquiry or review, conducting an investigation, and imposing corrective
        action.

 (Id. at 4, 14 (emphasis added).)

        If an investigation is deemed necessary, a Title IX Investigator (“Investigator”) is

 charged with conducting it. (Id. at 14.) Both the reporting and responding party have the

 opportunity to be heard, to have an advisor during the investigation, and to provide


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 relevant witnesses. (Id.) The Policy also dictates when the students’ prior sexual history

 can be considered:

        During the investigation process, the Title IX Investigator will determine
        whether information concerning the prior sexual history of either party is
        relevant. In general, in a case where the responding party raises consent as
        a defense, any prior consensual relationship between the parties may be
        relevant. Any other prior sexual history of the reporting party is typically
        not relevant and may not be permitted. Prior sexual history of the responding
        party may be relevant where there is evidence of a pattern of misconduct that
        may be relevant in the determination of responsibility assigning of
        corrective action.

 (Id. (emphasis added).) In addition to the Policy, Rollins’s Title IX Office published a bill

 of rights for the responding and reporting parties. (Doc. 56-13.) The Responding Party

 Bill of Rights includes numerous protections for a student responding to a sexual

 misconduct allegation, including the right “[t]o not have IRRELEVANT prior sexual

 history considered as information in the investigation.” (Id. at 2.)

        After the investigation, the Investigator determines responsibility by a

 preponderance of the evidence, and Rollins’s Office of Community Standards and

 Responsibility determines sanctions if necessary. (Doc. 56-1, pp. 14–15.) Rollins found

 Doe violated the Policy by engaging in non-consensual sexual intercourse and sexual

 contact. (Doc. 56-6, pp. 56–57.)3 The Policy definitions are:

        Related to Non-consensual Sexual Intercourse: Having or attempting to
        have sexual intercourse with another individual without consent. Sexual
        intercourse includes vaginal or anal penetration, however slight, with a
        body part or object, or oral copulation by mouth-to-genital contact.

        Related to Non-consensual Sexual Contact: Having or attempting to have

        3 The page numbers for citations to Deena Wallace’s report (Docs. 56-5, 56-6) are
 those from the bottom center of the page.
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        sexual contact with another individual without consent. Sexual contact
        includes kissing, touching the intimate parts of another, causing the other
        to touch one’s intimate parts, or disrobing of another without permission.
        Intimate parts may include the breasts, genitals, buttocks, mouth or any
        other part of the body that is touched in a sexual manner.

 (Doc. 56-1, p. 6.) Both parties are to be notified simultaneously, in writing, of the outcome.

 (Id. at 15.) A party may appeal in writing within five days of receiving written notice of

 the outcome based on procedural misconduct, inappropriate sanctions, or insufficient

 evidence. (Id.) The Title IX Coordinator4 determines which Rollins Vice President hears

 the appeal. (Id.) Rollins will notify both parties in writing of the appeal outcome. (Id.)

        By 2017, shifting political winds prompted discussion about repealing the Dear

 Colleague Letter. (See Doc. 56-3.) In response to these potential changes, Rollins’s Title IX

 Coordinator Oriana Jimenez (“Jimenez”) said Rollins couldn’t “afford to change

 anything drastically right now.” (Id. at 4.) Jimenez later said she meant Rollins wasn’t

 required to change anything and there was nothing Rollins could have improved about

 its process. (Doc. 56-2, pp. 46:1–9, 52:8–16.)5 In 2017, the U.S. Department of Education

 withdrew the Dear Colleague Letter noting criticisms of it “placing improper pressure

 upon universities to adopt procedures that do not afford fundamental fairness.” Letter

 from Office for Civil Rights, U.S. Dep’t of Educ. (Sept. 22, 2017); (see also Doc. 56, p. 6.)



        4 The Title IX Coordinator oversees Rollins’s “response to all reports of sexual
 misconduct and harassment, conduct[s] training and coordinat[es] compliance with the
 mandates of Title IX.” (Doc. 56-1, p. 8.) The Title IX Coordinator is “knowledgeable and
 trained in the College’s policies and procedures, state and federal laws that apply to
 sexual misconduct and harassment, and the dynamics of sexual misconduct and
 harassment.” (Id.)
        5 Citations to depositions will refer to the page number on the top right corner of

 the deposition transcript.
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       B.     Rollins’s Title IX Training & Email

       During Title IX trainings for students, Rollins included statistics and charts

 identifying the gender of people involved in or affected by sexual misconduct. (See Docs.

 74-9– 74-13.) Some of those statistics are: 1 in 5 college women will be sexually assaulted

 during their college years; 6.4% of college-aged men perpetrate rape; 99% of people who

 rape are men; and about 40% of gay men, 47% of bisexual men and 21% of heterosexual

 men in the United States have experienced sexual violence. (Doc. 74-9, pp. 3, 4, 7; Doc.

 74-11, p. 7.) Here are examples of Rollins’s training charts addressing sexual violence and

 gender:




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 (Doc. 74-12, pp. 59, 60; Doc. 74-13, p. 28.)

        Rollins’s Title IX Office also sent an email to the student body in 2015 titled,

 “Engaging Men to Prevent Sexual Violence.” (Doc. 74-7.) The email included an article

 stating, “[w]hile most men do not commit acts of violence, males perpetrate the majority

 of sexual assaults on women and other men.” (Id.) It continued, “[m]en act in a hyper-

 masculine and sexually aggressive manner to gain approval from their male peers, not to

 impress women, research suggests.” (Id.) The email concluded by stating educational

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 institutions “should treat men as partners, not as potential perpetrators, by emphasizing

 the positive role men can play.” (Id.)

        C.     Alleged Misconduct & Jane Roe’s Report

        Doe and Jane Roe both attended Rollins and became friends after Doe’s freshman

 year. (Doc. 56-5, p. 7; Doc. 61-4, p. 17:2–11.) During Doe’s senior year, on February 17,

 2017, they attended a function at Doe’s fraternity, drank alcohol, and went to a bar called

 “The Porch.” (Doc. 56-5, pp. 7–8, 17–19.) They left the Porch together and arrived at Doe’s

 dorm room in the early morning hours of February 18, 2017. (Id. at 8–9, 18–19.) They put

 on a movie and kissed, Doe inserted his fingers into Jane Roe’s vagina, and she touched

 his penis. (Id. at 9–10, 19–20.) Jane Roe then left Doe’s dorm room. (Id. at 10, 20.) On

 February 22, 2017, Jane Roe reported to Jimenez that the sexual encounter with Doe was

 not consensual. (Id. at 2–3; Doc. 56-2, p. 115:9–15.) Jane Roe did not want to participate in

 a Title IX investigation, and Rollins did not investigate her allegation at that time but

 provided academic and housing accommodations following her report. (Doc. 56-5, p. 3;

 Doc. 56-2, pp. 116:7–21, 122:10–123:16.)

        Nine months later, in November 2017, Rollins received an anonymous call that an

 individual with a name similar to Doe’s had sexually assaulted three women. (Doc. 56-5,

 p. 3; Doc. 56-2, p. 127:7–24.) After this call, Jimenez reached out to Jane Roe to see if she

 wanted to proceed with an investigation against Doe. (Doc. 56-2, pp. 127:3–128:19.)

 Jimenez told her that because of this call, the Title IX Office would be looking into Jane

 Roe’s February report, regardless of Jane Roe’s decision to move forward. (Id. at 128:20–

 129:3.) Jane Roe decided to participate, memorialized in an email sent on November 17,

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 2017. (Id. at 129:17–24; Doc. 56-7.) Doe was notified of the allegation against him on

 November 20, 2017. (Doc. 56-8.) The same day, Rollins placed a no-contact order between

 Jane Roe and Doe, made further academic accommodations for Jane Roe, and offered

 academic accommodations to Doe. (Doc. 56-5, p. 3.)

        D.     Investigation & Findings

        Once Rollins decided to move forward in November, it hired an outside

 Investigator, Deena Wallace (“Wallace”), to investigate Jane Roe’s allegation. (See Doc.

 56-5; Doc. 56-9, p. 22:19–23.) Wallace interviewed twenty-two witnesses, Jane Roe four

 times, and Doe once, in the presence of his advisor, Eric Barker (“Barker”). (See Doc. 56-

 5, p. 3; Doc. 56-9, pp. 117:25–118:7.) Jane Roe alleged that during the encounter with Doe,

 she was drunk, tired, and told Doe “no” and “stop.” (Doc. 56-5, pp. 8–10.) Doe claimed

 Jane Roe did not tell him to stop or show signs of being uncomfortable. (Id. at 17–22.)

        After the investigation, Wallace issued a seventy-one-page report with fifteen

 exhibits, finding Doe responsible for violating the Policy. (Docs. 56-5, 56-6.) Wallace

 recognized she needed to assess the credibility of Jane Roe and Doe because there were

 no other eyewitnesses to the encounter and their testimony conflicted. (Doc. 56-6, p. 58.)

 Ultimately, she found Jane Roe more credible. (Id. at 58, 62.) She identified the following

 reasons for believing Jane Roe: her report to a friend hours after the assault was consistent

 with her other reports of the encounter; she used great detail in explaining how Doe

 placed her hand on his penis; she physically manifested stress; her personality changed

 following the incident; and her inability to see Doe on campus. (Id. at 58–60, 62, 63, 71.)

 Wallace acknowledged the conflicting evidence against Jane Roe, like her text to Doe and

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  another friend about the incident stating she was too drunk to say she was uncomfortable,

  contradicting that she said “no” and “stop.” (Id. at 60, 71.) But Wallace accepted Jane

  Roe’s explanation that she was still processing the event and was not ready to say Doe

  assaulted her. (Id.)

         Wallace found Doe’s testimony that the encounter was consensual not credible.

  (Doc. 56-5, pp. 26–27.) Wallace asked Doe and Jane Roe about Doe’s prior girlfriends and

  explained, “[Doe] said he has not had a real girlfriend while at Rollins College and

  admitted to developing a crush on girls who were strictly friends in the past.” (Id. at 20.)

  Wallace also emphasized the testimony of three female witnesses. (Doc. 56-5, pp. 34–36;

  Doc. 56-6, pp. 37–41, 50–51.) Witness 8 alleged Doe may have assaulted her, but Wallace

  said she didn’t consider Witness 8’s testimony in assessing Doe’s responsibility because

  she believed Doe did not have sex with her. (Doc. 56-5, pp. 35–36; Doc. 56-6, pp. 37, 64.)

  And Wallace explained Doe’s “genuine, sincere statement” about this witness was

  drastically different than his statements about his encounter with Jane Roe, further

  convincing her of Jane Roe’s version. (Doc. 56-6, p. 64.) Witness 10 alleged Doe had sex

  with her without her consent. (Id. at 38–41.) Witness 19 did not allege misconduct against

  Doe. (Id. at 49–51.) Wallace showed Doe and Witness 19, separately, a video of the two of

  them kissing at a bar. (Doc. 56-5, p. 21; Doc. 56-6, p. 50.) Doe said they kissed, and he

  inserted his fingers in Witness 19’s vagina. (Doc. 56-5, p. 21.) Witness 19 said she does not

  remember the encounter but identified herself in the video and said she would have

  consented to kissing Doe. (Doc. 56-6, p. 50.) She said it would be “out of the ordinary” for

  her to agree to further sexual contact, but she doesn’t remember what happened. (Id.)

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  Despite discrediting Witness 8, Wallace summarized “all three of these women” were

  friends of Doe, drank alcohol, and “ended up having their vagina’s [sic] penetrated by

  him without giving informed, knowing, and voluntary consent.” (Id. at 64.) Wallace

  concluded Jane Roe was credible and Doe was not, in part because of his “past history of

  ignoring lowered inhibitions and performing sexual acts on females without their

  informed, knowing and voluntary consent,” and the preponderance of the evidence

  showed Doe violated the Policy. (Id. at 63, 71.)

         Once Wallace completed the report, Jimenez edited it (see Doc. 74-4) and Doe

  received a letter notifying him of the findings on March 5, 2018 (Doc. 56-10). Doe received

  the following sanctions: (1) a no-contact order between Doe and Jane Roe; (2) dismissal

  from Rollins; and (3) privilege restrictions that Doe was not permitted to participate in

  commencement ceremonies, alumni reunion events or to return to campus. (Doc. 56-10,

  p. 26.) Doe appealed, and the Vice President of Student Affairs, Mamta Accapdi, affirmed

  the findings and sanctions but ensured they had no effect on Doe’s undergraduate degree

  from Rollins.6 (Doc. 61-9, p. 62:16–21.)

         E.       Other Rollins Investigations

         While Doe was a student, there were twelve reports of sexual misconduct at

  Rollins. (See Doc. 74-1.) All involved a male respondent, and all but one had female

  reporting students. (Id. at 2–10.) Ten investigations found the male student responsible

  for violating the Policy; three were overturned on appeal. (Id.) So Rollins found the male




         6   Doe earned his degree by the time the process finished. (Doc. 61-9, p. 62:16–21.)
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  responding student responsible in eight of the twelve investigations conducted. (See id.)

  Two reports from these investigations are in the record and similar to Doe’s. (Docs. 74-2,

  74-3.) They included nearly identical statements on the accused student’s credibility as in

  Doe’s report: “[In] weighing the credibility of Respondent’s testimony, it was difficult to

  find his statements regarding the actual incident credible.” (See Doc. 74-2, p. 32; Doc. 74-

  3, p. 41 (same); Doc. 56-6, p. 62 (same)). And, like Doe’s report, they found the male

  responding student had a pattern of sexual misconduct. (See Doc. 74-2, p. 32; Doc. 74-3,

  p. 43; Doc. 56-6, p. 64.)

         Alleging Rollins’s treatment of him was gender-biased, Doe sued for selective

  enforcement, erroneous outcome, and breach of contract. (Doc. 14.) Rollins moves for

  summary judgment on all claims. (Doc. 60.) Doe moves for partial summary judgment

  on his selective enforcement claim and part of his breach of contract claim. (Doc. 56.)

  Briefing complete (Docs. 72, 74, 75, 76), the matter is ripe.

                                    II.     LEGAL STANDARDS

         Summary judgment is appropriate only “if the movant shows that there is no

  genuine dispute as to any material fact and that [it] is entitled to judgment as a matter of

  law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). As to issues for

  which the movant would bear the burden of proof at trial, it must affirmatively show the

  absence of a genuine issue of material fact and support its motion with credible evidence

  demonstrating that no reasonable jury could find for the nonmoving party on all of the

  essential elements of its case. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993)



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  (citing United States v. Four Parcels of Real Prop. in Green & Tuscaloosa Ctys., 941 F.2d 1428,

  1438 (11th Cir. 1991)).

         As to issues for which the nonmovant would bear the burden of proof at trial, the

  movant has two options: (1) it may simply point out an absence of evidence to support

  the nonmoving party’s case; or (2) it may provide “affirmative evidence demonstrating

  that the nonmoving party will be unable to prove its case at trial.” Four Parcels,

  941 F.2d at 1438 (citing Celotex Corp., 477 U.S. at 325). “The burden then shifts to the non-

  moving party, who must go beyond the pleadings and present affirmative evidence to

  show that a genuine issue of material fact exists.” Porter v. Ray, 461 F.3d 1315, 1320 (11th

  Cir. 2006) (citing Fitzpatrick, 2 F.3d at 1115–17).

         “A factual dispute is genuine ‘if the evidence is such that a reasonable jury could

  return a verdict for the nonmoving party.’” Four Parcels, 941 F.2d at 1437 (quoting

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A court must view the evidence

  and all reasonable inferences drawn from the evidence in the light most favorable to the

  nonmovant, Battle v. Bd. of Regents, 468 F.3d 755, 759 (11th Cir. 2006), such that “when

  conflicts arise between the facts evidenced by the parties, [the court] credit[s] the

  nonmoving party’s version,” Evans v. Stephens, 407 F.3d 1272, 1278 (11th Cir. 2005).

  However, “[the] court need not permit a case to go to a jury . . . when the inferences that

  are drawn from the evidence, and upon which the non-movant relies, are ‘implausible.’”

  Mize v. Jefferson City Bd. of Educ., 93 F.3d 739, 743 (11th Cir. 1996).




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                                        III.   ANALYSIS

         A.     Title IX Claims

         Title IX prohibits discrimination on the basis of gender under any education

  program receiving federal funding. 20 U.S.C. § 1681(a).7 Title IX’s purposes are to “avoid

  the use of federal resources to support discriminatory practices” and “to provide

  individual citizens effective protection against those practices.” Cannon v. Univ. of Chi.,

  441 U.S. 677, 704 (1979). The U.S. Court of Appeals for the Eleventh Circuit has not

  defined how to analyze a Title IX challenge to a university’s disciplinary proceeding but

  has recognized, without adopting, the Yusuf framework used by other courts. See Doe v.

  Valencia Coll., 903 F.3d 1220, 1236 (11th Cir. 2018); Yusuf v. Vassar Coll., 35 F.3d 709 (2d

  Cir. 1994).8 Yusuf identified two theories to attack a university’s disciplinary proceedings

  as gender biased: (1) the plaintiff was innocent; or (2) regardless of guilt, the plaintiff’s

  gender affected the decision to discipline or the penalty given. Yusuf, 35 F.3d at 715. They

  are respectively called “erroneous outcome” and “selective enforcement.” Id. Doe alleged

  both. (Doc. 14.)

         Instead of the Yusuf framework, Rollins argues the Court should apply the

  McDonnell Douglas burden-shifting framework from Title VII cases for employment

  discrimination. (Doc. 60, pp. 7–9); McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).



         7It’s undisputed Rollins falls under Title IX. (See Docs. 56, 60.)
         8 See, e.g., Haidak v. Univ. of Massachusetts-Amherst, 933 F.3d 56, 74 (1st Cir. 2019);
  Mallory v. Ohio Univ., 76 F. App’x 634, 638 (6th Cir. 2003); Koeppel v. Romano, 252 F. Supp.
  3d 1310, 1322 (M.D. Fla. 2017); Doe v. Lynn Univ., Inc., 224 F. Supp. 3d 1288, 1291 (S.D. Fla.
  2016); Rossley v. Drake Univ., 342 F. Supp. 3d 904, 924 (S.D. Iowa 2018); Z.J. v. Vanderbilt
  Univ., 355 F. Supp. 3d 646, 673 (M.D. Tenn. 2018).
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  Under McDonnell Douglas, the plaintiff first must establish a prima facie case of

  discrimination, then the defendant must justify the allegedly discriminatory action, and

  last the plaintiff must show the justification was pretext. 411 U.S. at 802, 804. The

  framework was based off the specific statutory scheme of Title VII, which is vastly

  different from Title IX. Johnson v. Miami-Dade Cty., 948 F.3d 1318, 1330 (11th Cir. 2020)

  (Tjoflat, J., concurring); Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 175 (2005) (citation

  omitted). And Title IX was modeled after Title VI, which doesn’t always use McDonnell

  Douglas.9 Cannon, 441 U.S. at 694; see, e.g., Carr v. Bd. of Regents of Univ. Sys. of Ga., 249 F.

  App’x 146, 148–49 (11th Cir. 2007) (declining to apply McDonnell Douglas to a Title VI

  claim). This Court has already determined that the Yusuf framework is best suited to the

  evaluation of a Title IX claim and finds no reason to retreat from that determination. (See

  Doc. 38, p. 5 (motion to dismiss order)); Mancini v. Rollins Coll., No. 6:16-cv-2232-Orl-

  37KRS, 2017 WL 3088102, at *5 (M.D. Fla. July 20, 2017).

         Yusuf provides a useful way to contextualize the conduct Doe alleges was

  discriminatory—the implementation of the Policy as it relates to the outcome and his

  treatment compared to Jane Roe’s. (Doc. 74, pp. 13–19.) But ultimately, talismanic labels

  aside, the question boils down to this: did Rollins discriminate against Doe on the basis

  of gender? See Doe v. Purdue Univ., 928 F.3d 652, 667–68 (7th Cir. 2019) (explaining Yusuf




         9In an unpublished per curium opinion, the Eleventh Circuit said a district court
  may use McDonnell Douglas in a Title VI case. Sirpal v. Univ. of Miami, 509 F. App’x 924,
  927–28 (11th Cir. 2013). Unpublished opinions are not binding precedent but may be
  considered as persuasive authority. See 11th Cir. R. 36-2; see also United States v. Almedina,
  686 F.3d 1312, 1316 n.1 (11th Cir. 2012).
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  and similar tests simply describe ways a student can show discrimination). After scrutiny

  of the record, there is no evidence by which a reasonable juror could conclude Rollins’s

  conduct toward Doe was motivated by his gender. Was the process biased in favor of the

  accuser? Perhaps. Were all the accused in the disclosed investigations males?

  Unquestionably. Is the institution responsible for the fact that the students who reported

  sexual assault were primarily female? Hard to see why. See, e.g., King v. DePauw Univ.,

  No. 2:14-cv-70-WTL-DKL, 2014 WL 4197507, at *10 (S.D. Ind. Aug. 22, 2014.) Is a

  preponderance of the evidence standard too lenient given the life-altering consequences

  of an errant finding? Reasonable minds could disagree. These are Doe’s best facts under

  the Yusuf lens.

                1.     Erroneous Outcome

         Doe claims the encounter with Jane Roe was consensual, so the finding against

  him was incorrect. (See Doc. 56-5, pp. 17–22.) To establish his erroneous outcome claim,

  Doe must show: (1) an articulable doubt as to the accuracy of the proceeding against him;

  and (2) gender bias was a motivating factor in the outcome. See Yusuf, 35 F.3d at 715.

                     a.       Articulable Doubt

         An articulable doubt is established by providing evidence of procedural flaws,

  evidentiary weaknesses, strengths of the defense, or “other reason[s] to doubt the veracity

  of the charge.” Yusuf, 35 F.3d at 715. The Court need not pass judgment on Doe’s guilt,

  only whether a reasonable jury could doubt the outcome. See id. The imperfect application

  of an imperfect policy easily raises articulable doubt as to Doe’s guilt.

         Doe identifies two procedural flaws—Rollins’s delay in investigating him and the

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  consideration of his prior sexual history. (Doc. 74, pp. 11, 19–20.) Under the Policy,

  “[t]ypically the process will be completed within 60 days” after any incident of sexual

  misconduct is alleged against a student. (Doc. 56-1, p. 14.) “This timeframe may be

  extended only for good cause,” and if good cause exists both parties “will be notified in

  writing of the extension and the reason for the extension.” (Id.) The Policy’s timeline

  wasn’t met. Jane Roe reported the incident to the Title IX Office on February 22, 2017; Doe

  was notified of the investigation on November 20, 2017—271 days after the report; and

  Doe received the finding on March 5, 2018—376 days after the report. (Doc. 56-5, pp. 2–

  3; Doc. 56-10.)

         Rollins argues the clock started in November when Jane Roe decided to participate

  in an investigation, but this contradicts the Policy and Rollins’s actions.10 (See Doc. 72, p.

  11; Doc. 56-1, p. 14.) It’s true that Jane Roe opted not to pursue the inquiry after reporting

  it, but Doe asserts he has a right to a prompt investigation while recollections are fresh

  and evidence more readily available. Doe also claims a right to know he stood accused of

  sexual assault. Rollins had the discretion to pursue the investigation, with or without Jane

  Roe’s cooperation, in February 2017. (See Doc. 56-1, p. 4.) Instead, Rollins responded by

  providing Jane Roe with accommodations in February. (See Doc. 56-5, pp. 2–3; Doc. 56-2,

  p. 118:6–10.) These accommodations represent a response by Rollins to the allegation

  which did not include investigating or notifying Doe. (See Doc. 56-1, p. 4.) The clock




         10 Rollins’s investigation of Doe was about the February incident and not the
  November anonymous tip. (Doc. 56-5.) If Rollins was investigating the anonymous tip,
  then the clock would have started in November. (See Doc. 56-1, p. 14.)
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  started when an incident of sexual misconduct was alleged against Doe, not when Jane

  Roe decided to participate in an investigation. (See id. at 14.) And Rollins neither made a

  good cause determination to extend the process nor notified the parties in writing as

  required by the Policy. (Doc. 56-1, p. 14.)

         Even if the clock started in November, Rollins was still late. (See Doc. 72, p. 11

  n.70.) More than sixty days lapsed from the November start date before Rollins explained

  it needed more time due to Wallace’s hospitalization.11 (Doc. 56-12.) Wallace’s

  hospitalization may have been good cause for an extension, but Rollins failed to timely

  notify the parties in writing of this extension as required. (See Doc. 56-1, p. 14; Doc. 56-

  12.) Rollins also says it complied with the Policy because the investigation was completed

  on December 12, 2017, but that’s not the point. (Doc. 72, p. 11.) The Policy states the process

  will be completed in sixty days. (Doc. 56-1, p. 14.) The Policy uses “investigation process”

  when discussing the investigation and “process” when referring to Rollins’s response to

  sexual misconduct, encompassing more than just the investigation. (Id.) So Rollins

  violated the sixty-day provision.

         Doe also says Rollins violated the Policy by considering Doe’s irrelevant prior

  sexual history. (Doc. 74, p. 19.) Under the Policy and Responding Party Bill of Rights,

  Doe’s sexual history “may be relevant where there is evidence of a pattern of misconduct”

  and Doe has the right to “not have IRRELEVANT prior sexual history considered as



          On January 23, 2018, Barker emailed Jimenez that it had been sixty-four days
         11

  since Doe was notified of the investigation, exceeding the sixty-day policy. (Doc. 56-12.)
  Jimenez apologized for the delay, stating Wallace had been in the hospital but the report
  should be finalized by the end of the month. (Id.)
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  information in the investigation.” (Doc. 56-1, p. 14; Doc. 56-13, p. 2.) Wallace considered

  Doe’s sexual history in two ways—alleged sexual misconduct and prior girlfriends. (See

  Docs. 56-5, 56-6.)

         Wallace evaluated the testimony of three female witnesses. One witness alleged

  Doe may have assaulted her, but Wallace didn’t find her credible; another alleged Doe

  had sex with her without her consent; and a third didn’t allege sexual misconduct against

  Doe but said she likely would not have agreed to sexual contact beyond kissing when

  showed a video of Doe inserting his fingers in her vagina at a bar. (Doc. 56-5, pp. 21, 35–

  36; Doc. 56-6, pp. 37–41, 49–51, 64.) From these witnesses, Wallace found a pattern of

  conduct, they were all friends of Doe, drank alcohol, and “ended up having their vagina’s

  [sic] penetrated by him without giving informed, knowing, and voluntary consent.” (Doc.

  56-6, p. 64.) Wallace found Doe was not credible, in part, because of “his past history of

  ignoring lowered inhibitions and performing sexual acts on females without their

  informed, knowing and voluntary consent.” (Id. at 63.) To what extent Wallace

  considered the witnesses’ testimony in finding Doe responsible and whether this

  testimony shows a pattern of misconduct permissible to consider under the Policy are

  disputed facts.

         Wallace also asked both Jane Roe and Doe whether Doe had any prior girlfriends.

  (Doc. 56-5, pp. 7, 20.) Wallace explains these questions were not related to a pattern of

  misconduct; rather, they were to figure out if Doe understood consent in a sexual context.

  (Doc. 56-9, pp. 97:4–104:15.) But it’s unclear whether this inquiry is relevant under the



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  Policy.12 (See Doc. 56-1, p. 14; Doc. 56-13, p. 2.) This ambiguity is furthered by Jimenez

  stating she would not ask how many prior girlfriends an accused student has had in a

  sexual misconduct investigation. (Doc. 56-2, p. 80:12–14.) And if an Investigator asked

  such questions, Jimenez said she would require them to explain the questions’ relevancy.

  (Id. at 80:24–81:15.) A genuine dispute exists over whether Wallace’s questions about

  Doe’s prior girlfriends were relevant under the Policy and the Responding Party Bill of

  Rights. (Doc. 56-1, p. 14; Doc. 56-13, p. 2.)

         Beyond the procedural flaws, Doe claims his own testimony and the testimony of

  Barker, Doe’s advisor during the investigation, is evidence to doubt the veracity of the

  charge against him. (Doc. 74, p. 19.) Doe had a meeting with Jimenez before speaking to

  Wallace where Jimenez said, “[w]hen it’s all said and done, I will make sure that you

  appeal this case.” (Doc. 61-4, p. 90:7–8.) Doe interpreted this to mean a decision to find

  him responsible was made before Doe was asked a single question. (Id. at 90:9–24.) Barker

  said he didn’t think Wallace exhibited gender bias against Doe, but he thought Wallace

  didn’t believe Doe and knew where she wanted to go during that first and only meeting

  with him. (See Doc. 61-11, pp. 24:15–20; 30:1–3.) Barker thought Wallace “seemed more

  like a prosecutor than a . . . fact finder.” (Id. at 24:9–13.) Whether Jimenez and Wallace

  decided the outcome before speaking with Doe is a genuine dispute of fact.

         Doe asserts the encounter was consensual and has provided evidence of




         12 While prior sexual history between the parties may be relevant if consent is
  raised as a defense, it is otherwise irrelevant absent evidence of a pattern of misconduct.
  (See Doc. 56-1, p. 14.)
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  procedural flaws and raised questions on the veracity of the charge. These issues create

  an articulable doubt about the outcome, but they do not demonstrate a discriminatory

  bias based on gender.

                     b.       Gender Bias

         Doe must show gender bias affected the outcome. See Yusuf, 35 F.3d at 715. Bias

  can be shown through evidence such as “statements by members of the disciplinary

  tribunal, statements by pertinent university officials, or patterns of decision-making that

  also tend to show the influence of gender.” Id.

         Let’s assess Doe’s best facts on the presence of gender bias. Rollins adopted the

  Policy after the issuance of the Dear Colleague Letter, and Jimenez expressed resistance

  to changing it. (Doc. 56-1; Doc. 56-3, p. 4.) Doe says the Policy favored females over males

  because according to Doe’s expert, Professor Johnson, the Dear Colleague Letter

  pressured colleges to adopt procedures that increased the chances an accused student

  would be found responsible for sexual misconduct. (Doc. 74, p. 2; Doc. 63-1, p. 3.) And

  Doe points out that all accused students at Rollins while Doe was a student were male,

  despite a sixty percent female student body. (Doc. 74, p. 8; Doc. 74-1.) But “schools are

  not responsible for which students choose to report sexual misconduct.” Rossley, 342 F.3d

  at 929 (citations omitted). Rollins’s training statistics and charts link sexual violence to

  the denigration of women and hypermasculinity. (Doc. 74-12, pp. 59, 60; Doc. 74-13, p.

  28.) But nothing in the record indicates these materials don’t represent the statistical and

  cultural reality. See Doe v. Colgate Univ., 760 F. App’x 22, 31 (2d Cir. 2019). Jimenez also

  sent an article to the student body stating men act in a hyper-masculine and sexually

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  aggressive manner to impress male peers. (Doc. 74-7.) But again, Doe doesn’t call into

  doubt the accuracy of this email beyond his conclusory argument that it’s misleading.

  (See Doc. 74, p. 5); see also Colgate Univ., 760 F. App’x at 31–32. And the email concluded

  schools shouldn’t treat men as potential perpetrators. (Doc. 74-7.) Doe also highlights the

  procedural flaws in his investigation as evidence of gender bias. (Doc. 74, pp. 6–10.)

  Rollins investigated Doe nine months late. (Doc. 56-1, p. 14; Doc. 56-5, pp. 2–3.) And when

  it did investigate, the Investigator seemed to have already made up her mind. (See Doc.

  61-4, pp. 89:7–90:8; Doc. 61-11, p. 24:15–20.) Wallace dove into Doe’s sexual history,

  potentially in violation of the Policy. (See Docs. 56-6, 56-1, 56-13.) And she used nearly

  identical language to other reports in concluding Doe was not credible. (See Docs. 56-6,

  74-2, 74-3.)

         True enough, these factors may demonstrate a victim-centered approach to the

  investigation of the alleged sexual misconduct, but conspicuously absent is evidence of

  discriminatory bias motivated by gender. If anything, as noted by other courts, “the

  inference of pro-victim bias is an obvious alternative explanation that overwhelms any

  potential of gender bias” Rossley, 342 F. Supp. 3d at 928 (quoting Doe v. Univ. of Colo.,

  Boulder, 255 F. Supp. 3d 1064, 1079 (D. Colo. 2017). Absent evidence of gender bias, Doe’s

  erroneous outcome claim under Title IX cannot survive summary judgment. See Haidak,

  933 F.3d at 75; Doe v. Univ. of Denver, No. 17-cv-01962-PAB-KMT, 2019 WL 3943858, at *10

  (D. Colo. Aug. 20, 2019).

                 2.    Selective Enforcement

         Doe also claims selective enforcement based on Rollins’s failure to investigate Jane

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  Roe. (Doc. 56, pp. 22–28.) A selective enforcement claim asserts that a school decided to

  discipline a student or decided on certain penalties based on the student’s gender. Yusuf,

  35 F.3d at 715. To prevail, Doe must show a similarly situated individual of the opposite

  sex was treated differently. See Rossley, 342 F. Supp. 3d at 931.

         Doe says Jane Roe was similarly situated because they were both drunk during the

  February incident and Rollins did not investigate whether Doe could have consented to

  sexual activity. (Doc. 56, pp. 22–28.) This isn’t enough. “An accused student and his or

  her accuser can be compared to show selective enforcement if the parties allege

  misconduct against each other,” but the two can’t be compared “if the accused student

  did not similarly initiate or attempt to initiate a complaint against his or her accuser.” See

  Rossley, 342 F. Supp. 3d at 933 (citation omitted). Jane Roe reported sexual misconduct to

  Rollins; Doe did not. (See Doc. 56-5; Doc. 61-4, p. 113:11–13.) And unlike the plaintiff in

  Rossley, Doe does not claim he was discouraged or dissuaded from formalizing a

  complaint against Jane Roe. (See Doc. 61-4, pp. 111:19–113:13); see Rossley, 342 F. Supp. 3d

  at 933. Comparing Jane Roe and Doe does not eliminate a non-discriminatory reason for

  Rollins’s decision not to investigate Jane Roe—Doe’s failure to allege misconduct. See

  Stenzel v. Peterson, No. 17-580 (JRT/LIB), 2017 WL 4081897, at *6 (D. Minn. Sept. 13, 2017).

  So Jane Roe is not a similarly situated individual. (Doc. 56-5, pp. 19–20); cf. Doe v.

  Quinnipiac Univ., 404 F. Supp. 3d 643, 662 (D. Conn. 2019) (denying summary judgment

  on selective enforcement claim where both students alleged misconduct).

         Doe’s reliance on Doe v. Miami University, 882 F.3d 579 (6th Cir. 2018) and another

  Rollins investigation, does not compel a different result. (See Doc. 56, p. 25.) Miami

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  University is inapposite as it deals with a deliberate indifference claim at the pleading

  stage, which does not require a similarly situated individual. 882 F.3d at 584, 590. Doe

  argues another investigation where Rollins didn’t investigate the female reporting party

  when the male responding party was drunk is a comparator, but this theory fails. (See

  Doc. 56, p. 24.) Doe doesn’t explain how comparing two Rollins investigations with the

  same result establishes the elements of selective enforcement—a comparator of the

  opposite sex and different treatment. See Rossley, 342 F. Supp. 3d at 931. Without a similarly

  situated individual, Doe’s selective enforcement claim cannot survive summary

  judgment. See Mallory, 76 F. App’x at 641.

         B.     Breach of Contract

         Doe argues Rollins breached the Responding Party Bill of Rights and Policy

  requirements to complete sexual misconduct proceedings in sixty days, to refrain from

  considering an accused student’s irrelevant sexual history, and to provide a fair

  resolution. (Doc. 56, pp. 13–22; Doc. 74, p. 20.) Doe also alleges Rollins breached an

  implied covenant of good faith. (Doc. 74, p. 20 n.17.) Rollins counters that it followed its

  policies and if any breach occurred, it was not material and didn’t damage Doe.13 (Doc.

  60, pp. 24–25; Doc. 72, pp. 7–17.)



         13 Rollins also argues even if it breached its implied-in-fact contract, Doe can only
  prevail if he shows Rollins acted arbitrarily and capriciously. (Doc. 60, pp. 24–25; Doc. 72,
  p. 7.) The arbitrary and capricious standard applies in Florida where a student disputes
  a school’s decision, but the school followed its policies. See, e.g., McCawley v. Universidad
  Carlos Albizu, Inc., 461 F. Supp. 2d 1251, 1258–59 (S.D. Fla. 2006) (applying the standard
  where the student admitted, and the school properly determined the student violated the
  school’s policies); Jarzynka v. St. Thomas Univ. Sch. of Law, No. 03-20652-CIV-
  LENARD/KLEIN, 2005 WL 8154066, at *7 (S.D. Fla. Aug. 24, 2005) (applying the standard
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         To establish breach of contract, in Florida, Doe must show: “(1) the existence of a

  contract; (2) a material breach of the contract; and (3) damages resulting from the breach.”

  Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1272 (11th Cir. 2009) (citations omitted). It is

  undisputed Doe and Rollins had an implied-in-fact contract and the terms can be derived

  from Rollins’s published policies, including the Policy and Responding Party Bill of

  Rights.14 (Doc. 60, p. 24; Doc. 56, pp. 9–10; Doc. 72, pp. 7–17); see Sharick v. Se. Univ. of

  Health Sci., Inc., 780 So. 2d 136, 138 (Fla. 3d DCA 2000). Florida analyzes a breach of an

  implied-in-fact contract the same as an express contract.15 See Resnick v. AvMed, Inc., 693

  F.3d 1317, 1325 (11th Cir. 2012); Tracfone Wireless, Inc. v. Simply Wireless, Inc., 275 F. Supp.

  3d 1332, 1342 (S.D. Fla. 2017). With the existence of a contract established, let’s turn to

  whether there were any material breaches of the contract and resulting damages. See

  Vega, 564 F.3d at 1272.




  where the school reserved the right to take disciplinary action without following
  procedures); Jallali v. Nova Se. Univ., Inc., 992 So. 2d 338, 342–343 (Fla. 4th DCA 2008)
  (applying the standard where the school reserved the right to change its policy). The
  arbitrary and capricious standard is inapplicable here where Doe alleged Rollins violated
  policies it was contractually obliged to follow. (See Doc. 14, ¶¶ 88–103; Doc. 74, p. 20; Doc.
  56-2, p. 53:1–10 (Jimenez acknowledged Rollins must follow the Policy)); see also Gen.
  Motors Corp. v. Romein, 503 U.S. 181, 189 (1992) (“The obligation of a contract consists in
  its binding force on the party who makes it.” (citation omitted)).
          14 For summary judgment only, Rollins does not dispute the Policy and

  Responding Party Bill of Rights are terms of the parties’ implied-in-fact contract. (Doc.
  72, p. 7 n. 55.)
          15 The only difference between an implied-in-fact contract and an express contract

  is the parties’ method of expressing assent. See Shaffer v. Bank of N.Y. Mellon, No. 8:17-cv-
  565-T-33AAS, 2017 WL 3065222, at *3 (M.D. Fla. July 19, 2017).
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                1.     Sixty-Day Provision

         Doe claims Rollins failed to address the sexual misconduct allegation against him

  within sixty days, as required by the Policy. (Doc. 56, pp. 10–13.) Although Rollins

  breached the sixty-day provision of the Policy when it investigated Jane Roe’s allegation

  nine months after she reported it, see supra Section III.A.1.a, Rollins argues any breach of

  the sixty-day provision was not material and did not damage Doe. (Doc. 72, pp. 12–13.)

  A breach is material when it “goes to the essence of the contract.” Burlington & Rockenbach,

  P.A. v. Law Offices of E. Clay Parker, 160 So. 3d 955, 960 (Fla. 5th DCA 2015). Whether an

  alleged breach is material is a question of fact to be determined by the trier of fact. Britt

  Green Trucking, Inc. v. FedEx Nat’l, LTL, Inc., No. 8:09-cv-455-T-33TBM, 2014 WL 3417569,

  at *6 (M.D. Fla. July 14, 2014) (citing Covelli Family, L.P. v. ABG5, L.L.C., 977 So. 2d 749,

  752 (Fla. 4th DCA 2008)). The plaintiff can only recover where he “sustained a substantial

  injury due to the breach” and these “damages are a proximate result of the material

  breach.” Border Collie Rescue, Inc. v. Ryan, 418 F. Supp. 2d 1330, 1343 (M.D. Fla. 2006). On

  this record, the Court cannot determine whether the breach was material or caused Doe

  damages. For example, Jimenez conceded memories could have faded in the nine months

  Rollins delayed investigating, which could have impacted the findings. (See Doc. 56-2, p.

  130:15–17.) So a genuine dispute of fact exists on whether the breach of the sixty-day

  provision was material and caused Doe’s damages. See Britt Green Trucking Inc., 2014 WL

  3417569, at *6.




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                2.     Prior Sexual History

         Doe also contends Rollins breached its contract when Wallace asked about Doe’s

  previous girlfriends and considered witness testimony of prior sexual conduct. (See Doc.

  56, pp. 18–22.) There is a dispute whether Rollins breached the Policy and Responding

  Party Bill of Rights based on the consideration of Doe’s prior sexual history. See supra

  Section III.A.1.a. Rollins’s assertion that Wallace has full discretion to determine what’s

  relevant does not resolve the dispute. (See Doc. 72, p. 14.) This assertion is undermined

  by the policies: an accused student has the right not to have irrelevant prior sexual history

  considered and prior sexual history may be relevant where there is a pattern of

  misconduct. (See Doc. 56-1, p. 14; Doc. 56-13, p. 2.) The Investigator does not have

  unfettered discretion to dive into an accused student’s sexual history. Since a factual

  question remains as to whether this inquiry into Doe’s sexual history was relevant under

  the policies, summary judgment is inappropriate. See Border Collie Rescue, Inc., 418 F.

  Supp. 2d at 1343 (declining summary judgment where there was a triable issue on

  whether the contact was breached).

                3.     Fair & Equitable

         Doe argues Rollins failed to respond “equitably” and provide a “fair” resolution

  to Jane Roe’s sexual misconduct allegation against him as guaranteed by the Policy. (Doc.

  56-1, pp. 2, 14.) Specifically, Doe claims his treatment throughout the investigation was

  unfair and gender biased. (Doc. 74, pp. 7–15.) Rollins says it followed its policies and did

  not discriminate against Doe. (Doc. 60, pp. 11–25.) Doe did not provide sufficient

  evidence of gender bias for a Title IX claim, but he did provide sufficient evidence that

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  Rollins favored the reporting student. See supra Section III.A.1. Doe presented evidence

  Rollins didn’t treat him fairly or equitably—deciding he was responsible before hearing

  his side of the story and failing to follow procedures mandated by the Policy and

  Responding Party Bill of Rights. See supra Section III.A.1. There is a genuine dispute

  whether Rollins responded fairly and equitably to Jane Roe’s allegation, precluding

  summary judgment. See Doe v. Trs. of Bos. Coll., 892 F.3d 67, 87–88 (1st Cir. 2018) (finding

  summary judgment on breach of basic fairness inappropriate where there is a genuine

  dispute on other breaches of contract related to the sexual misconduct investigation).

                4.     Implied Covenant of Good Faith

         Last, Doe argues Rollins breached an implied covenant of good faith and fair

  dealing by failing to provide Doe a fair investigation. (Doc. 74, p. 25 n.17.) This claim is

  duplicative and subsumed by the breach of fairness claim. See Trs. of Bos. Coll., 892 F.3d

  at 88 (finding implied covenant of good faith claim superfluous where school promised

  basic fairness in contract).16 So the Court grants summary judgment for Rollins on Doe’s

  claim for breach of the implied covenant of good faith found in Count III. (Doc. 14, ¶¶

  100–101); see Rossley, 342 F. Supp. 3d at 943–44 (granting summary judgment on implied

  covenant of good faith and fair dealing that was subsumed by express breach of contract).




         16 Rollins argues the implied covenant of good faith does not attach to an implied-
  in-fact contract. (See Doc. 76, p. 8.) The Court does not reach this issue because the claim
  is co-extensive with the fairness provision of the Policy, but it appears the implied
  covenant of good faith can apply to an implied-in-fact contract. See Shaffer, 2017 WL
  3065222, at *6 (attaching the implied covenant of good faith to an implied-in-fact contract
  on a motion to dismiss).
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  The action will proceed on Doe’s other breach of contract claims found in Count III. (Doc.

  14, ¶¶ 88–103.)

                                    IV.    CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED:

        1.     Plaintiff John Doe’s Motion for Partial Summary Judgment (Doc. 56) is

               GRANTED IN PART AND DENIED IN PART:

               a.     The Motion is GRANTED to the extent Defendant Rollins College

                      breached the sixty-day provision of the Policy.

               b.     In all other respects, the Motion is DENIED.

        2.     Defendant Rollins College’s Motion for Summary Judgment (Doc. 60) is

               GRANTED IN PART AND DENIED IN PART:

               a.     The Motion is GRANTED as to Doe’s Title IX claims: Count I for

                      erroneous outcome (Doc. 14, ¶¶ 64–77) and Count II for selective

                      enforcement (Doc. 14, ¶¶ 78–87).

               b.     The Motion is GRANTED as to breach of the implied covenant of

                      good faith and fair dealing found in Count III of the Complaint (Doc.

                      14, ¶¶ 100–101).

               c.     In all other respects, the Motion is DENIED.

        3.     The Clerk is DIRECTED to enter judgment in favor of Defendant Rollins

               College and against Plaintiff John Doe with respect to Count I (Doc. 14, ¶¶

               64–77), Count II (Doc. 14, ¶¶ 78–87), and the implied covenant of good faith

               and fair dealing breach found in Count III (Doc. 14, ¶¶ 100–101).

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        4.    This matter will proceed to trial on Plaintiff’s remaining claims.

        5.    In light of this Order, the parties’ deadline to file their Joint Final Pretrial

              Statement and Trial Briefs (see Doc. 108) is extended to Wednesday, March

              11, 2020.

        DONE AND ORDERED in Chambers in Orlando, Florida, on March 7, 2020.




  Copies to:
  Counsel of Record




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